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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

                                  DATE: February 10, 2023

JUDGE:       JOHN D. LOVE                                          REPORTER:


LAW CLERK: Jenna Gillingham                          COURTROOM DEPUTY: Sharon Baum

 NETLIST, INC.
                                                             CASE NO: 2:21cv463
 V
                                                               HOTLINE CALL
 SAMSUNG ELECTRONICS CO., LTD.



 ATTORNEYS FOR PLAINTIFF                          ATTORNEY FOR DEFENDANTS
 Jason Sheasby                                    Matt Colvin

        On this day, came the parties by their attorneys and the following proceedings were had:
 OPEN: 10:34                                      ADJOURN: 10:42


 TIME:       MINUTES:


     10:34   Case called. The parties announced they are on the line and ready.

             Mr. Sheasby begins discussion of concerns.

     10:38   Mr. Colvin responds.

     10:40   Judge makes comments.

             Mr. Sheasby asks clarifying question.

             Judge makes additional remarks.
